Case 3:17-cv-00072-NKM-JCH Document 409 Filed 02/08/19 Page 1 of 2 Pageid#: 3821



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


                                                              Action No: 3:17CV72
  Elizabeth Sines, et al                                      Date: 2/8/2019
  vs.                                                         Judge: Joel C. Hoppe, USMJ
                                                              Court Reporter: H. Wheeler/FTR
   Jason Kessler, et al
                                                              Deputy Clerk: Heidi N. Wheeler



  Plaintiff Attorney(s)                               Defendant Attorney(s)
  Gabrielle Tenzer, Roberta Kaplan,                   None present when roll called
  Alan Levine, Yotam Barkai



                                         LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                              DEFENDANT:
  1.




  PROCEEDINGS:
  TELEPHONIC STATUS CONFERENCE                      1:01-1:08= 7 MIN

  Roll called by Court, no parties dialed in on befhalf of the defendants that were notified of this
  matter.

  Procedural issues addressed briefly.
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  Time in Court:
